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UNITED STATES DISTRICT COURT                                        DOC#:
SOUTHERN DISTRICT OF NEW YORK                                       DATE FILED: 1/12/2021


 UNITED STATES OF AMERICA,

                        v.                                       No. 16-CR-327 (RA)

 KEVIN WALKER,                                                           ORDER

                             Defendant.


RONNIE ABRAMS, United States District Judge:

         On December 20, 2020, Defendant Kevin Walker filed a motion for a new trial pursuant

to Federal Rule of Criminal Procedure 33. Under Local Criminal Rule 49.1, the Government’s

response to Defendant’s motion was due by January 3, 2021. See Local Criminal Rule 49.1(b).

The Court has not received a response. No later than January 22, 2021, the Government shall

file its opposition to Defendant’s motion or a letter indicating that it does not intend to file an

opposition. If the Government chooses not to submit an opposition to the motion for a new trial,

the Court will deem the motion fully briefed and take it under submission.

SO ORDERED.

Dated:      January 12, 2021
            New York, New York

                                                    Ronnie Abrams
                                                    United States District Judge
